             Case 2:18-cv-00148-SAB                  ECF No. 61              filed 09/15/20    PageID.858 Page 1 of 1
 AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                   for the_
                                                      Eastern District of Washington                                 FILED IN THE
                                                                                                                 U.S. DISTRICT COURT
                                                                                                           EASTERN DISTRICT OF WASHINGTON
    ALFREDO CRUZ ESQUIVEL, as an individual; and
     DONALD DAVID WILLARD, as an individual,
                            Plaintiffs                                   )
                                                                                                            Sep 15, 2020
                               V.                                        )                                        SEAN F. MCAVOY, CLERK

THE UNITED STATES OF AMERICA, acting through its agent                   )        Civil Action No. 2:18-cv-00148-SAB
BUREAU OF LAND MANAGEMENT; ARMANDO FONSECA,                              )
an individual, in both his personal and representative capacities; and   )
TOM DOE, a BUREAU OF LAND MANAGEMENT EMPLOYEE
OR CONTRACTOR, in both his personal and representative capacities,

                           Defendants
                                              JUDGMENT IN A CIVIL ACTION
 The court has ordered that (check one):

 ’ the plaintiff (name)                                                                                           recover from the
 defendant (name)                                                                                                    the amount of
                                                                             dollars ($                 ), which includes prejudgment
 interest at the rate of                   %, plus post judgment interest at the rate of               % per annum, along with costs.

 ’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                  recover costs from the plaintiff (name)
                                           .

 ✔ other: This matter is dismissed pursuant to the Order Granting Stipulated Motion to File Second Amended Complaint, Dismiss
 ’
               Civil Rights Claims, and Enter Final Order of Dismissal, ECF No. 59. Judgment is entered in favor of the Defendants.




 This action was (check one):
 ’ tried by a jury with Judge                                                                             presiding, and the jury has
 rendered a verdict.

 ’ tried by Judge                                                                             without a jury and the above decision
 was reached.

 ✔
 ’ decided by Judge            Stanley A. Bastian                                                  on a
       Stipulated Motion (ECF No. 59).


 Date: 9/15/2020                                                                 CLERK OF COURT

                                                                                 SEAN F. McAVOY

                                                                                 s/ Lee Reams
                                                                                              (By) Deputy Clerk

                                                                                 Lee Reams
